F   Case 0:17-cr-60186-KMM Document 1 Entered on FLSD Docket 07/31/2017 Page 1 of 6




      A()91(G V.0#1)) Crknle Ct- lAint

                                       U NITED STAI'ESD ISTRICT COURT
                                                        forthe
                                                S* %= Y      d F$Y H
                     UnltedStatesofAmerita                  )
                                  V.                        )
                     Joim M n- ntSmithleta1.,
                                                            ) ca xo./-)- l>a: 7 - a xoow'--l
                                                            )
                                                            )
                                                            )
                            1)#e >l/;)
                                                CRIM INAL COM PLAINT
            1,thecomplinantinthiscasezxate+atthefollowlng istruetothe1 stofmyknowledgeandbelief
      Onoraboutthedatets)of           Ju& a8.@17 .- - - .. intheO untyof          n-'''-=                        inthe
         H      m        Dlefrlqtof        ç-           .tM œf             tlNtqln-d:
                C# eSere a                                                W enseY zegl
                                                                                     /fba
      21UnltedStatesœ deA- 1   M 846        censplra@ to N qeu wl
                                                                * Intm tK dl
                                                                           stdbuteM rA ne
      21 Unlted S*te: Code SK NY 963        œ ne cytoime * * 1* IntotheU&tedState:




              n iscriminalcomplintishlqd onthesefacts:
      o-- attae ed aëdeMit.




              W continuedontheattachvdsh- .


                                                                                    C              '
                                                                                                   x#- -
                                                                             Joehua B..E..o n:.S'- '
                                                                                                   # M ent,DEA      -
                                                                                        Printnda- e* tltl.
      Swom to lforemeandsignedinmy pr- nce,
                                                                      $
                                                                    .,#
                                                                                                                   N
      Date:      .   97/29/2017                                     !
                                                                    f                   q.w .' .g.
                                                                                        .
                                                                                                 -
                                                                                                 ,-
                                                                                                  .. , ..m.
                                                                                                          0x .(<1
                                                                                            w   a.
      CityandsGte:                 FtLsuderde nrk:dd-
                                                -.              -    -     Hon.LGG S.Sno
                                                                                      . w . U.
                                                                                             S.Me :eo .k1*
                                                                                        pi ed,.n@.$r<&..ftltte
F   Case 0:17-cr-60186-KMM Document 1 Entered on FLSD Docket 07/31/2017 Page 2 of 6




                                                  A FFIDA VIT



              1,Joshua B.Evans,SpecialAgent(SA)with the Drug EnforcementAdministration,
       (DEA),Miami,Miami-DadeCounty,Florida,beinglirstdulysworn,statethefollowing:

                  I am currently employed as a SpecialAgent(hereafterSA)ofthe United States
       DepartmentofJustice,Drug EnforcementAdministzation (hereaRerDEA),Homestead Resident
       Offce (hereafterHRO)and have been so employed since May of 2012. Ihave received
       numerous hours of fonnal classroom training in the investigation of narcotics and dangerous

       drugsfrom the Drug EnforcementAdministration Academyin Quantico,Virginiaand inother
       specialized training courses. As a result,lam trained in the m eansand m dhods used by persons

       and drug trafticking organizations to com m unicate, purchase, transport, store, and distribute

       drugs,aswellasthem eansand m ethodsused to hide profits generated from thosetransactions,

              2. This affidavit ism itten in supportofa com plaintbased upon information personally

       known to me and inform ation which has been supplied by other law enforcem entofficers and

       civilian witntsses. The affdavit is being subm itted for tht lim ited pup ose of establishing

       probable cause to arrestJohn VincentSM ITH,Javonno PINDER and A aron Rom an BUTLER

       forconspiracy to possess with intentto distribute cocaine, in violation ofTitle 21,United States

       Code,Section 846 and conspiracy to impèrtcocaine, in violation ofTitle 21,U nited StatesCode,

      Section 963. As such,itdoes notinclude al1the facts I have learned during tht course ofthe

      investigation.Al1 of the cvents described in this affidavit werc witnessed by myself or other
      individualsinvolved in the investigation.
Case 0:17-cr-60186-KMM Document 1 Entered on FLSD Docket 07/31/2017 Page 3 of 6




           3.On March 10,2017,Irectived information from aContidentialSource(CS)advising
   thatan individual,lateridentified by law enforcem cntasJohn V incentSM ITH , had asked the CS

   ifthe CS could transportdrugs from Freeport, Baham as,to south Florida.

          4. Between M arch 2017 and July 2017, the CS,an individual later identified as Aaron

   Rom an BUTLER,and others m etw ith the CS on 4 to 5 occasions to discuss the detailsofthe

   load of dnlgs to be transported. Both SM ITH and BUTLER engaged in the discussions

   regarding the paym ent and details of the transportation. On at least onc occasion,BUTLER

   drove SM ITH to the m eeting driving adark gray A ltim a.

          5.On July 21,2017,SM ITH and an individuallateridentified asJavonno PINDER, m et

   withtheCS and providedtheCS with$3,900 in U nited States currency asan initialpaym entfor
   the CS to travelto Freeport,Bahamas, on the CS's vessel,and pick up m ultiple kilograms of

   cocaine from a source.SM ITH and PIND ER told the CS varying am ountsofkilogram s thatthe

  CS would be picking up because they were notsure exactly how many itw ould be. They also

  advised thatPW DER would travclon the vesselwith the CS from Ft. Lauderdale,Florida,to

  Freeport,Baham as,to pick up the kilogram s and return to Ft. Lauderdale on the vesselw ith the

  CS. The agreem ent betw een the parties was that the CS would m aintain possession of the

  cocaine untilhisfee w aspaid.

         6.On July 28, 2017, The CS, PINDER,and another individual traveling w ith the CS
                                                                                               ,

  departed on the CS's boatfrom Ft. Lauderdale,Florida,destined for Freeport, Bnm ahas.W hen

  they arrived in the w ater near Freeport, they were m et by another vessel w hose occupants

  transferred l5 kitogram s of cocaine onto the CS's vessel. The CS, PW DER and the third
  individualthen retum ed to Ft. Lauderdale.
                                                  2
Case 0:17-cr-60186-KMM Document 1 Entered on FLSD Docket 07/31/2017 Page 4 of 6




             D uring the return trip,PW DER and the CS had severalconversations regarding what

   would happen with the cocaine once they anived in Ft.Lauderdale. PIND ER told the CS that

   PINDER w ould have to stay w ith the cocaine and atone point, PIND ER began m oving a large

   coolerthatthe CS believed PW DER w as going to try and use to take the cocaine offthe vessel.

   PINDER also infonned the CS thatBUTLER wasactually the one who provided themoney to

   SM ITH who in turn provided itto the CS.

          8. Prior to the vessel's arrival in Fort Lauderdale, law enforcem ent established

   surveillance in the area of Isle of Venice Drive,the Iocation where the vesselw as expected to

   dock.Soon,surveillance observed a dark gray Nissan Altima drive up and dow n the streetin the

   area severaltim es.Thisdark gray A ltim a m atched the description given by the CS asthe vehicle

   driven by BUTLER when the CS,SM ITH and BU TLER m eter lier.

          9. Aftertht CS'svesstlarrivtd,law enforcem tntobserved two black m altsexitthedark

   gray Altim a and walk tow ard the dock where the vesselwas located.Atthattime,SM ITH and

   BUTLER appearedatthedockwheretheboatwaslocated.SMITH toldtheCS that(contraryto
   theirprioragreement)hewastakingthecocaineofftheboatand thathewould leaveonly one
   kilogram ofcocaine forthe CS.

          10. SM ITH then boarded the boatin orderto rem ove the cocaine. W hen the CS tried to

   stop him , SM ITH grabbed the CS by the neck and pushed the CS to the tloor of the vessel.

   SM ITH pointed at BUTLER and in BUTLER'S presence,SM ITH told the CS that BUTLER

   would shootthe CS iftheCS tried to stop him from removing the cocaine.




                                                 3
Case 0:17-cr-60186-KMM Document 1 Entered on FLSD Docket 07/31/2017 Page 5 of 6




                        l1. Law Enfomementtlwn iniliated g tgkd own atwhich m intBUTLER attempe to
             tlee by m nning from the scele. Law tnfoxemtntwasablt to appxhend him nearthe Altima.

             Duringthetakd own.anagentobservedSMI'
                                                 I'
                                                  H throw hisphoneintoth:water.

                       W .DespiltûteutyG i% a snlvtqic of!lx M umahxd % 1% G ksw- te C%'%voxt,
             during a postM ianda imo iew BUTLER told agent: thatheneverexlted theNissM Alti> or

             wentneartheCS'svœ x l.

                       13.A substquentsev hofthevesxlreveakd 15 kllog-m,ofe- aineinsideofablack
            pl%tic- qh bag in acabinetinsidethesm aller, middlel-dm m oftheCS'Svessel.

                       14. Ba d on the fo> oing fe ts, your am ant subm ie thatprobable cauR eZ,I to
            M lieve that John Vine- t SM ITH, Javonnn Pm DER R d A= n Rom an BUR ER did
            e owingly conspim to poseesswith intentto disM bute coc ine, in violation ofTitle 21,United
            SatesCode,Section #46 and conspim to imm rtcocaine into the United Sotes, in violation of
            Title21,United StatesCode,Section963.
                                     e

                      FURTHER YOUR AFFIANT SAYETH NOT



                                                                  1os B.Evan        cialAgent
                                                                  Dm g EnforcementA dmlnisa tion

            SUBSCRIBED and SW ORN to
            Befcrem ethis29* daycfJuly, 2017
        u (!                                    ,      N
    '
  fi.          x   t.
                    x4-z>
                        .
                        K-...
                            ;;..
                               t.
                                ,r       ..   ,. a .   xj
                                                       .t..
        .    ONOM BLE LUM NA S.SNOW
            UNITED STAU M AGISTRATE JUDGE

                                                              4
Case 0:17-cr-60186-KMM Document 1 Entered on FLSD Docket 07/31/2017 Page 6 of 6




                           UN ITED STATES DISTRICT CO URT
                           SO UTH ERN DISTRICT O F FL R IDA

                              (
                              I
                              r
                              i
                              d
                              l
                              r4
                               :
                               )
                               ,
                               -/7-*2.
                                     -
                                     .
                                     #
                                     ..7-
   UNITED ST ATES O F AM ERICA

   V:.



   JO HN VINCENT SM ITH ,etal.,

                        Defendants.
                                        /

                                CRIM INAL COVER SHEET

         Didthismatteroriginate from am atterpending in theN orthern Region oftheUnited States
         Attorney's Ofûce priorto O ctober l4,2003?                Yes       X     No



                                            Respectfully subm itted,

                                            BenjaminG.Greenberg
                                            A CTIN G UN ITED STATES A TTORN EY

                                               .                       ...   ''


                                    BY:
                                            L       M .K l   A   CK
                                            A SSISTANT UN ITED STATES ATTORN EY
                                            CourtN o.A 5500737
                                            99 N.E.4th Street
                                            M iam i,Florida 33132-2111
                                            TEL (305)961-9239
                                            FAX (305)536-7213
